106 F.3d 390
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Gary Wood HEDGEPETH, Plaintiff--Appellant,v.Scott W. OUTLAW;  F. Timberlake;  City of Ahoskie;  DannyPowers, Defendants--Appellees.
    No. 96-7522.
    United States Court of Appeals, Fourth Circuit.
    Feb. 5, 1997.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Terrence W. Boyle, District Judge.  (CA-96-629)
      Gary Wood Hedgepeth, Appellant Pro Se.  Larry S. Overton, OVERTON &amp; CARTER, Ahoskie, North Carolina, for Appellees.
      Before RUSSELL, WILKINS, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Gary Wood Hedgepeth, a North Carolina inmate, appeals the district court's order denying relief on his 42 U.S.C. § 1983 (1994) complaint under 28 U.S.C. § 1915(d) (1994), amended by Prison Litigation Reform Act, Pub.L. No. 104-134, 110 Stat. 1321 (1996).  We have reviewed the record and the district court's opinion and find that this appeal is frivolous.  Accordingly, we dismiss the appeal on the reasoning of the district court.  Hedgepeth v. Outlaw, No. CA-96-629 (E.D.N.C. Sept. 13, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    